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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                     RICHMOND DIVISION



UNITED STATES OF AMERICA


v.                                                         CASE NO.   3:07CR310


SAEEI) GRANT,


                        Defendant



                                              ORDER


         This matter is before the court for consideration of a report and recommendation by the

Magistrate Judge regarding the Magistrate Judge's acceptance of the Defendant's plea of guilty

to specified charges in the pending matter pursuant to a Fed. R. Crim. P. 11 proceeding


conducted by the Magistrate Judge with the consent of the Defendant and counsel. It appearing

that the Magistrate Judge made full inquiry and findings pursuant to Rule 11; that the Defendant

was given notice of the right to file specific objections to the report and recommendation that has


been submitted as a result of the proceeding; and it further appearing that no objection has been


asserted within the prescribed time period, it is hereby


         ORDERED that the report and recommendation of the Magistrate Judge is ADOPTED


and the Defendant is found guilty of Count One of the superseding criminal indictment.




                                                                      fsf
Dated:                                                Henry E. Hudson
                                                      United States District Judge
